                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION
                                  No. 4:12-CV-295-D


JOE HAND PROMOTIONS, INC.,                   )
                                             )
                              Plaintiff,     )
                                             )
                 v.                          )                     ORDER
                                 )
DANIEL K. MILLER,                )
GARY HARRIS, and                 )
PIRATE'S PUB & RESTAURANT, INC., )
                                 )
                     Defendants. )


       On November 17, 2013, plaintiff filed a motion to amend the complaint [D.E. 18]. The

motion was filed after the deadline in the scheduling order. See [D.E. 15] 2. Thus, plaintifffrrst

must meet the "good cause" standard in Rule 16. See Nourison Rug Corp. v.      Parvizi~   535 F.3d

295,298-99 (4th Cir. 2008).

       Plaintiffhas failed to acknowledge, much less establish, good cause to add Shannon Neuhoff

or William Stomas defendants. The motion to amend [D.E. 18] is DENIED. To the extent that

plaintiff wishes to file a stipulation dismissing Daniel K. Miller or Gary Harris in order to avoid

Rule 11 sanctions, plaintiff should do so promptly.

       SO ORDERED. This _j_ day of December 2013.




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